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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

NETLIST, INC.,                              )
                                            )
              Plaintiff,                    )
                                            )
       v.                                   )    Civil Action No. 2:21-CV-463-JRG
                                            )
SAMSUNG ELECTRONICS CO., LTD.,              )
SAMSUNG ELECTRONICS AMERICA,                )
INC., SAMSUNG SEMICONDUCTOR,                )
INC.,.                                      )
                                            )
              Defendants.                   )

                                                ORDER

       The Court enters this order sua sponte. Trial in this case was set for May 1, 2023. (See

Dkt. No. 191.) This Order amends that date, and the trial date is now set for April 17, 2023.

Accordingly, the deadlines in the above-captioned case are amended as follows:
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  Previous deadline     New deadline                             Event

 May 1, 2023          April 17, 2023         Jury Selection – 9:00 a.m. in Marshall,
                                             Texas
 April 3, 2023        March 20, 2023         * If a juror questionnaire is to be used, an
                                             editable (in Microsoft Word format)
                                             questionnaire shall be jointly submitted to
                                             the Deputy Clerk in Charge by this date.
 March 27, 2023       No Change              *Pretrial Conference – 9:00 a.m. in

                                             Marshall,

                                             Texas before Judge Rodney Gilstrap
 March 20, 2023       No Change              *Notify Court of Agreements Reached

                                             During Meet and Confer

                                             The parties are ordered to meet and confer
                                             on any outstanding objections or motions in
                                             limine. The parties shall advise the Court of
                                             any agreements reached no later than 1:00
                                             p.m. three (3) business days before the
                                             pretrial conference.
 March 20, 2023       No Change              *File Joint Pretrial Order, Joint Proposed

                                             JuryInstructions, Joint Proposed Verdict

                                             Form, Responses to Motions in Limine,

                                             Updated Exhibit Lists, Updated Witness

                                             Lists, and Updated Deposition Designations




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 March 13, 2023      No Change             *File Notice of Request for Daily Transcript

                                           or Real Time Reporting.

                                           If a daily transcript or real time reporting of

                                           court proceedings is requested for trial, the

                                           party or parties making said request shall

                                           file a notice with the Court and e-mail the

                                           Court Reporter, Shawn McRoberts, at

                                           shawn_mcroberts@txed.uscourts.gov.

 March 10, 2023      No Change             File Motions in Limine

                                           The parties shall limit their motions in
                                           limine to issues that if improperly
                                           introduced at trial would be so prejudicial
                                           that the Court could not alleviate the
                                           prejudice by giving appropriate instructions
                                           to the jury.
 March 6, 2023       No Change             Serve Objections to Rebuttal Pretrial
                                           Disclosures
 February 27, 2023   No Change             Serve Objections to Pretrial Disclosures;

                                           and Serve Rebuttal Pretrial Disclosures


 February 13, 2023   No Change             Serve Pretrial Disclosures (Witness List,

                                           Deposition Designations, and Exhibit List)
                                           by the Party with the Burden of Proof




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 February 17, 2023     No Change           *Response to Dispositive Motions

                                           (including Daubert Motions). Responses to

                                           dispositive motions that were filed prior to

                                           the dispositive motion deadline, including

                                           Daubert Motions, shall be due in

                                           accordance with Local Rule CV- 7(e), not to

                                           exceed the deadline as set forth in this

                                           Docket Control Order. Motions for

                                           Summary Judgment shall comply with

                                           Local Rule CV-56.

 February 3, 2023      No Change           *File Motions to Strike Expert

                                           Testimony(including Daubert Motions)

                                           No motion to strike expert testimony
                                           (including a Daubert motion) may be filed
                                           after this date without leave of the Court.
 February 3, 2023      No Change           *File Dispositive Motions

                                           No dispositive motion may be filed after

                                           this date without leave of the Court.

                                           Motions shall comply with Local Rule CV-
                                           56 and Local Rule CV-7. Motions to extend
                                           page limits will only be granted in
                                           exceptional circumstances. Exceptional
                                           circumstances require more than agreement
                                           among the parties.
   February 10, 2023   No Change           Deadline to Complete Expert Discovery for
                                           Infringement and Validity Expert(s) in
                                           connection with the ’918, ’054, ’506, and
                                           ’339 patents, including Mr. Halbert and
                                           rebuttal thereto.
   February 10, 2023    No Change          Deadline to Complete Expert Discovery as
                                           to Samsung’s Non-Infringement Expert in

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  .



                                            connection with U.S. Patent Nos. 8,787,060
                                            and 9,318,160; Samsung’s Damages-
                                            Related Experts; Netlist’s Expert(s) in
                                            connection with U.S. Patent Nos. 8,787,060
                                            and 9,318,160; and Netlist’s Damages-
                                            Related Experts.



    So ORDERED and SIGNED this 10th day of February, 2023.




                                               ____________________________________
                                               RODNEY GILSTRAP
                                               UNITED STATES DISTRICT JUDGE




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